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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,               )     No. CR-12-016-WFN-2
 7                                             )
                     Plaintiff,                )     ORDER GRANTING MOTION AND
 8                                             )     SETTING CONDITIONS
       v.                                      )     OF RELEASE
 9                                             )
       SAMUEL MICHAEL DOYLE,                   )     X Motion Granted
10                                             )           (Ct. Rec. 189)
                     Defendant.                )
11                                             )
                                               )     G     Action Required
12                                             )

13
14          The court, having conducted a bail review hearing on June 4,

15    2012,    and   having    considered    the   Pretrial     Services    Report     and

16    proffers of the parties, finds there are conditions of release that

17    will     reasonably     assure   defendant’s       presence   at   future   court

18    hearings.      Defendant shall be released subject to the following

19    conditions:

20          IT IS ORDERED that the release of the Defendant is subject to the

21    following:

22                            STANDARD CONDITIONS OF RELEASE

23      (1) Defendant shall not commit any offense in violation of
      federal, state or local law. Defendant shall advise the supervising
24    Pretrial Services Officer and defense counsel within one business
      day of any charge, arrest, or contact with law enforcement.
25
        (2) Defendant shall immediately advise the court, defense counsel
26    and the U.S. Attorney in writing before any change in address and
      telephone number.
27
        (3) Defendant shall appear at all proceedings as required and
28    shall surrender for service of any sentence imposed as directed.


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 1      (4) Defendant shall sign and complete A.O. 199C before being
      released and shall reside at the addressed furnished.
 2
        (5) Defendant shall not possess a firearm, destructive device or
 3    other dangerous weapon.
 4      (6) Defendant shall report to the United States Probation Office
      before or immediately after release and shall report as often as
 5    they direct, at such times and in such manner as they direct.
      Defendant shall contact defense counsel at least once a week.
 6
        (7) Defendant is further advised, pursuant to 18 U.S.C. § 922(n),
 7    it is unlawful for any person who is under indictment for a crime
      punishable by imprisonment for a term exceeding one year, to
 8    possess, ship or transport in interstate or foreign commerce any
      firearm or ammunition or receive any firearm or ammunition which has
 9    been shipped or transported in interstate or foreign commerce.
10      (8) Avoid all contact, direct or indirect, with any co-
      defendants in this matter.
11
        (9)   Remain subject to a detainer out of Oregon.
12
      Today’s proceedings were held           via    video     conference    with     the
13    permission of the Defendant.
14    DATED June 5, 2012.
15                                          s/James P. Hutton
                                              JAMES P. HUTTON
16                                     UNITED STATES MAGISTRATE JUDGE
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